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                              CASE NO. 21-50276

                                IN THE
                   UNITED STATES COURT OF APPEALS
                            FIFTH CIRCUIT
                              __________

Sylvia Gonzalez,

                         Plaintiff – Appellee

v.

Edward Trevino, II, Mayor of Castle Hills, sued in his
individual capacity; John Siemens, Chief of the Castle Hills
Police Department, sued in his individual capacity; Alexander
Wright, sued in his individual capacity,

                         Defendants – Appellants

  Appealed from Cause No. 5:20-cv-01151-DAE; United States District Court
               Western District of Texas, San Antonio Division
                 The Honorable David Alan Ezra, Presiding
__________________________________________________________________

                       APPELLANTS’ BRIEF
__________________________________________________________________

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ORAL ARGUMENT REQUESTED
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                 CERTIFICATE OF INTERESTED PERSONS
                                CASE NO. 21-50276

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                    The Honorable David Alan Ezra, Presiding

      The undersigned counsel of record certifies that the following listed persons
and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the
outcome of this case. These representations are made in order that the judges of this
court may evaluate possible disqualification or recusal.

Appellants:                             Attorneys for Appellants:
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               STATEMENT REGARDING ORAL ARGUMENT

      Appellants request oral argument because this case involves relatively

complex issues involving the assertion of qualified immunity asserted by multiple

Defendants, one of which is not a police officer, in connection with a retaliatory false

arrest claim. Oral argument may also be useful to the Court, in order to compare

and contrast the facts in this case with the cases relied upon by the trial court.




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TO THE HONORABLE FIFTH CIRCUIT COURT OF APPEALS:
      NOW COME Appellants Edward Trevino, II (“Mayor Trevino”),                    John

Siemens (“Chief Siemens”), and Alexander Wright (“Special Detective Wright”)

and file this their Appellants’ Brief. Appellants respectfully request that this Court

reverse and remand the trial court’s ruling denying Appellants’ Motion to Dismiss

on the grounds of the independent intermediary doctrine and their assertion of

qualified immunity.

                       JURISDICTIONAL STATEMENT

      The basis for the district court’s subject-matter jurisdiction is for claims

asserted under 42 U.S.C. § 1983 for violation of Appellee’s First and Fourteenth

Amendment rights by an alleged retaliatory arrest. This Court has subject-matter

jurisdiction under 28 U.S.C. § 1331 as the district court issued an Order Denying

Motion to Dismiss, denying Appellants’ assertion of qualified immunity. ROA.168-

201. See Ashcroft v. Iqbal, 556 U.S. 662, 675, 129 S. Ct. 1937, 1947, 173 L. Ed. 2d

868 (2009)(finding that a district court’s order denying a motion to dismiss on

qualified immunity is a final decision under the collateral-order doctrine over which

the Court of Appeals has jurisdiction.).

      Appellants filed a timely notice of appeal. ROA.220-222.

        STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

Issue One: Did the district court err by failing to properly apply the independent
intermediary doctrine in denying Appellants’ Motion to Dismiss?

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Issue Two: Did the district court err in failing to consider each of Appellant’s
claims of qualified immunity separately?

Issue Three: Did the district court err in failing to grant Appellants’ Motion to
Dismiss?

                           STATEMENT OF THE CASE

        Appellee Sylvia Gonzalez (“Appellee”), a former council member of the City

of Castle Hills, Texas filed a Complaint for Retrospective Relief on September 29,

2020.    ROA.6-38.      Appellee asserts claims under 42 U.S.C. § 1983 against

Appellants Trevino, Siemens and Wright for violation of her First and Fourteenth

Amendment rights by a retaliatory arrest. ROA.30-33.

        Mayor Trevino is the Mayor of the City of Castle Hills, Texas (“the City”).

ROA.8. Chief Siemens is the former Chief of Police for the City. ROA.8. Special

Detective Wright is a licensed Texas Peace Officer who works as a Special Detective

for the City. ROA.8-9, 66.

        Appellee alleges, without factual support, that the Appellants participated in

a scheme to punish and intimidate her in retaliation for exercising her free speech

rights. ROA.30-33.

        Appellee participated in collecting a citizen petition, the goal of which was to

remove the City Manager from office. ROA.9, 13. The petition was presented to

the City Council at a meeting on May 21, 2019. ROA.14. At that meeting, Chalene

Martinez testified that Appellee asked her to sign the petition “under false


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pretenses.” ROA.14. The meeting was contentious and was continued to the

following day. ROA.14. On May 22, 2019, prior to the commencement of the

meeting, Mayor Trevino had the petition (which consisted of 26 pages) in his

possession. ROA.67. The petition is a “governmental record” as defined by Texas

Penal Code § 37.01(2). ROA.67. Appellee took the petition from Mayor Trevino’s

stack of papers and concealed it in her meeting binder. ROA.69. At the end of the

meeting, the City Secretary asked Mayor Trevino for the petition. ROA.68. Mayor

Trevino no longer had the petition in his possession but noted a binder clip in

Appellee’s meeting binder that looked like the one he used to clip the 26 pages of

the petition together. ROA.67-68. Mayor Trevino enlisted the help of Castle Hills

Police Captain Zuniga to approach Appellee as Mayor Trevino suspected that

Appellee had taken the petition and secreted it in her meeting binder. ROA.47, 68,

15-16. Appellee initially denied having the petition. ROA.68. However, the

petition was found to be in Appellee’s possession. ROA.16, 47, 68-70.

      Mayor Trevino reported the theft of the petition. ROA. 43-45, 46, 67. Police

Chief Siemens assigned the investigation to Special Detective Wright. ROA.66.

Special Detective Wright conducted an investigation by interviewing and obtaining

sworn statements from Mayor Trevino, Captain Zuniga and Chalene Martinez.

ROA. 67-68, 70. Special Detective Wright attempted to interview Appellee, but

Appellee refused to speak with him. ROA.70. Special Detective Wright also viewed


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video of the meeting and determined that the video was consistent with the

statements of Mayor Trevino and Captain Zuniga. ROA.69-70. The video showed

Appellee taking the petition from Mayor Trevino’s stack of documents and Appellee

hiding the petition within her binder. ROA.69. The video showed the interchange

between Mayor Trevino, Captain Zuniga and Appellee when the petition was

recovered from Appellee’s possession. ROA.69-70.

       Based on his investigation, Special Detective Wright prepared a

Complaint/Affidavit for Warrant of Arrest. ROA.66-71, 113-118. A Warrant of

Arrest was issued by a Bexar County District Judge for Tampering with a

Governmental Record pursuant to Texas Penal Code § 37.10(c)(1). ROA.112.

Appellants took no further action.

       Appellee learned that there was a warrant for her arrest. ROA.23. Appellee

turned herself in to the Bexar County Sheriff’s Department.1 ROA.23. Appellee

attached the “Complaint/Affidavit for Warrant of Arrest” to her Complaint.

ROA.66-71. The district court properly took judicial notice of the Warrant of Arrest.

ROA.174.

       Appellants moved for dismissal based on the independent intermediary

doctrine. ROA.102-103, 160-163. Appellants also moved for dismissal based on



1
  It should be noted that no Castle Hills Police personnel are alleged to have directly participated
in Appellee’s arrest or the terms of her incarceration. ROA.23.
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independent assertions of qualified immunity for Mayor Trevino [ROA.103-105],

Chief Siemens [ROA.105], and Special Detective Wright [ROA.106]. See also

ROA.163-166.

                            STANDARD OF REVIEW
      Appellate review of a district court’s decision on a motion to dismiss is de

novo. See McLin v. Ard, 866 F.3d 682, 688 (5th Cir. 2017). Appellate review of a

district court’s order denying qualified immunity is de novo. See Marie Ramirez v.

Guadarrama, 844 F. App'x 710, 713 (5th Cir. 2021). “When a defendant invokes

qualified immunity, the burden is on the plaintiff to demonstrate the inapplicability

of the defense.” Id. (quoting McClendon v. City of Columbia, 305 F.3d 314, 323 (5th

Cir. 2002) (per curiam)).

      To survive a motion to dismiss, a complaint “must contain sufficient
      factual matter, accepted as true, to ‘state a claim to relief that is
      plausible on its face.’ ” Phillips v. City of Dallas, 781 F.3d 772, 776
      (5th Cir. 2015) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.
      Ct. 1937, 173 L.Ed.2d 868 (2009)). In reviewing the complaint, we
      “draw all inferences in favor of the nonmoving party, and view all facts
      and inferences in the light most favorable to the nonmoving party.”
      Club Retro, L.L.C. v. Hilton, 568 F.3d 181, 194 (5th Cir. 2009). Legal
      conclusions, however, are not entitled to an assumption of truth and
      must be supported by factual allegations. Iqbal, 556 U.S. at 678–79,
      129 S. Ct. 1937. Thus, “[a] claim has facial plausibility when the
      plaintiff pleads factual content that allows the court to draw the
      reasonable inference that the defendant is liable for the misconduct
      alleged.” Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009) (citing
      Iqbal, 556 U.S. at 678, 129 S. Ct. 1937). When the motion to dismiss
      raises the defense of qualified immunity, the plaintiff “must plead
      specific facts that both allow the court to draw the reasonable inference
      that the defendant is liable for the harm ... alleged and that defeat a

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      qualified immunity defense with equal specificity.” Zapata v. Melson,
      750 F.3d 481, 485 (5th Cir. 2014) (quoting Backe v. LeBlanc, 691 F.3d
      645, 648 (5th Cir. 2012)).

McLin, 866 F.3d at 688.

                      SUMMARY OF THE ARGUMENT
      The district court erred in denying Appellants’ Motion to Dismiss. Appellee’s

retaliatory arrest claims fail as a matter of law when there is a pre-arrest

determination of probable cause by an independent intermediary.

      The district court erred in failing to separately consider the independent

assertion of qualified immunity of each Appellant separately.

      The district court erred denying Appellants’ Motion to Dismiss because the

district court misapplied the causation and well-established law elements of the

qualified immunity analysis to each individual Appellant.

                               THE ARGUMENT

Issue for Review One: The district court erred by failing to properly apply the
independent intermediary doctrine.

      Appellee’s Complaint for Retrospective Relief [ROA.6-38 and 40-

71(exhibits)] (“the Complaint”) seeks redress for an alleged unconstitutional arrest.

ROA.7.    Appellee brings retaliatory arrest claims against Appellants in their

individual capacity. ROA.30-33. However, Appellee was arrested pursuant to a

Warrant of Arrest signed by a Bexar County District Judge. ROA.112.



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      Generally, if an independent intermediary, such as a justice of the
      peace, authorizes an arrest, then the initiating party cannot be liable for
      false arrest. We recently explained this in McLin: “[T]he intermediary’s
      decision breaks the chain of causation for false arrest ....” In fact, the
      initiating party can even be malicious. That alone still won’t overcome
      the independent-intermediary doctrine. We held that 30-plus years ago
      in Hand. And we reiterated it in 2016 in Buehler. We also elaborated in
      Buehler that the doctrine applies even if the arrestee was never
      convicted.

Shaw v. Villanueva, 918 F.3d 414, 417 (5th Cir. 2019). This Court has articulated

an exception to the independent intermediary doctrine:

      Under McLin, if the plaintiff shows that the defendant tainted the
      intermediary’s decision-making process, the defendant can be liable.
      But the plaintiff has to show that the defendant maliciously withheld
      relevant information or otherwise misdirected the intermediary.

Id. The Complaint does not allege that Appellants withheld any relevant information

from the Bexar County District Judge. In fact, the Complaint shows that Special

Detective Wright included background information to give the Court the full context

and background of the investigation. ROA.21, 66-71. Under these circumstances,

this exception does not apply. See Shaw, 918 F.3d at 417-18.

      Appellee’s allegations are conclusory in that she has pleaded no specific facts

showing that Mayor Trevino or Chief Siemens had any communication with the

Bexar County District Judge. She has pleaded no specific facts showing that Special

Detective Wright misdirected the Bexar County District Judge into issuing the arrest

warrant. Appellee has made no showing that Appellants affirmatively tainted the

intermediaries' decisions. Therefore, Appellants are entitled to qualified immunity
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under the independent-intermediary doctrine. See Holcomb v. McCraw, 262 F.

Supp. 3d 437, 452 (W.D. Tex. 2017). The district court should have granted

Appellees’ Motion to Dismiss pursuant to qualified immunity under the independent

intermediary doctrine.

      Instead, the district court relied on Nieves v. Bartlett, 139 S. Ct. 1715, 204 L.

Ed. 2d 1 (2019) and concluded that Appellee “need not plead or prove the absence

of probable cause.” ROA.184.         The district court concluded that Appellee

sufficiently pled that she was arrested when “otherwise similarly situated individuals

not engaged in the same sort of protected speech had not been.”             ROA.185.

However, this conclusion is not supported by Appellee’s factual allegations or by

the reasoning in Nieves.

      Appellee was arrested for an alleged violation of Texas Penal Code

§37.10(a)(3), (c)(1). ROA.19. These provisions state:

      § 37.10. Tampering with Governmental Record

      (a) A person commits an offense if he:
      ....
             (3) intentionally destroys, conceals, removes, or otherwise
             impairs the verity, legibility, or availability of a governmental
             record;
      ....
      (c)(1) Except as provided by Subdivisions (2), (3), and (4) and by
      Subsection (d), an offense under this section is a Class A misdemeanor
      unless the actor's intent is to defraud or harm another, in which event
      the offense is a state jail felony.



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Tex. Penal Code § 37.10. A “Governmental record” is defined as “anything

belonging to, received by, or kept by government for information . . ..” Tex. Penal

Code § 37.01(2)(A). A petition received by the City Council is a governmental

record. ROA.13-14. See Navarro v. City of San Juan, Tex., 624 F. App'x 174, 180

(5th Cir. 2015)(Plaintiffs could not show that a recall petition was not a

governmental record under Texas law.)

      Appellee alleges that a review of criminal charges and indictments in the

Bexar County records show that the statute has not been used to charge anyone “for

trying to steal a nonbinding or expressive document.” ROA.22. The Complaint

does not allege that there have been any other persons who stole “a nonbinding or

expressive document” that were not charged, or even that there has been such an

incident in Bexar County in the relevant time period. The Complaint contains no

factual allegations that would show that any other person engaged in the same sort

of protected speech and was accused of trying to steal a governmental record.

Therefore, the Complaint does not show that Appellee was treated or would be

treated differently from any other person who tried “to steal a nonbinding or

expressive document” or any other governmental record or that she was treated

differently from any “otherwise similarly situated individuals not engaged in the

same sort of protected speech had not been.” ROA.185. The trial court erred in

reaching its conclusion based on the facts pled.


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      The trial court also erred in its application of Nieves to Appellant’s factually

pled Complaint. Mr. Bartlett was arrested at a festival by officers and charged with

disorderly conduct and resisting arrest. Nieves v. Bartlett, 139 S. Ct. 1715, 1721, 204

L. Ed. 2d 1 (2019). Bartlett claimed that the officers violated his First Amendment

rights by arresting him in retaliation for his speech. See id. The alleged protected

speech was Bartlett’s refusal to speak with Sergeant Nieves earlier in the evening

and his intervention in another officer’s discussion with the underage partygoer. See

id. The 9th Circuit relied on an affidavit wherein Bartlett alleged that Sergeant

Nieves said, “bet you wish you would have talked to me now.” Id. at 1721. The

Court examined the history of retaliatory arrest and prosecution jurisprudence in

light of an allegation of First Amendment retaliation.

      To prevail on such a claim, a plaintiff must establish a “causal
      connection” between the government defendant's “retaliatory animus”
      and the plaintiff's “subsequent injury.” Hartman, 547 U.S. at 259, 126
      S. Ct. 1695. It is not enough to show that an official acted with a
      retaliatory motive and that the plaintiff was injured—the motive must
      cause the injury. Specifically, it must be a “but-for” cause, meaning that
      the adverse action against the plaintiff would not have been taken
      absent the retaliatory motive. Id., at 260, 126 S. Ct. 1695 (recognizing
      that although it “may be dishonorable to act with an unconstitutional
      motive,” an official's “action colored by some degree of bad motive
      does not amount to a constitutional tort if that action would have been
      taken anyway”).

Nieves, 139 S. Ct. at 1722. The Court concluded “that the no-probable-cause

requirement should not apply when a plaintiff presents objective evidence that he

was arrested when otherwise similarly situated individuals not engaged in the same
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sort of protected speech had not been.” Id. at 1727.          The Court relied on a

commonsense analysis of the minor crime of jaywalking:

      For example, at many intersections, jaywalking is endemic but rarely
      results in arrest. If an individual who has been vocally complaining
      about police conduct is arrested for jaywalking at such an intersection,
      it would seem insufficiently protective of First Amendment rights to
      dismiss the individual's retaliatory arrest claim on the ground that there
      was undoubted probable cause for the arrest. In such a case, because
      probable cause does little to prove or disprove the causal connection
      between animus and injury.

Nieves, 139 S. Ct. at 1727. However, in the present case, Appellee has not alleged

that the “steal[ing of] a nonbinding or expressive document” is endemic or even that

any other person has tried to steal or hide a petition that has been presented to a city

council. Moreover, Appellee was not arrested by any of Appellants, rather Special

Detective Wright presented evidence to a magistrate who made an independent

finding of probable cause. “Because there was probable cause to arrest [Appellee],

[her] retaliatory arrest claim fails as a matter of law.” Nieves, 139 S. Ct. at 1728.

      The district court’s application of Nieves under this fact pattern would cause

a chilling effect on public officials who report criminal activity in the case of Mayor

Trevino. A public official could not report a crime for fear that they would be haled

into court for doing their civic duty.

      The district court’s application of Nieves would also create an impossible

problem for law enforcement. A chief of police (like Chief Siemens) would have to

make a determination as to whether the report of a crime is in retaliation for First
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Amendment speech, when the chief was not present when the alleged crime was

committed, and no investigation had yet been conducted. Likewise, a detective (like

Special Detective Wright) would have to refuse an assignment to investigate a

criminal complaint (in this case the facts of which were conveyed to him by multiple

interviews and sworn statements backed up with video evidence) for fear that he

would be sued for conducting a legitimate investigation. This Court should reverse

and render the district court’s denial of Appellants’ Motion to Dismiss.

Issue for Review Two: The district court erred in failing to consider each of
Appellant’s claims of qualified immunity separately.

      Appellants moved for dismissal based on independent assertions of qualified

immunity for Mayor Trevino [ROA.103-105], Chief Siemens [ROA.105], and

Special Detective Wright [ROA.106].            However, the trial court grouped the

individual Appellants together and did no independent analysis of the separate

claims. ROA.185-193.

      This Court has made it clear that each individual Appellant’s claim to

qualified immunity should have been considered separately. See Marie Ramirez v.

Guadarrama, 844 F. App'x 710, 717, n. 4 (5th Cir. 2021).

      Our precedent makes clear that “we examine each individual's
      entitlement to qualified immunity separately.” Carroll v. Ellington, 800
      F.3d 154, 174 (5th Cir. 2015) (internal quotation marks omitted) (citing
      Meadours v. Ermel, 483 F.3d 417, 422 (5th Cir. 2007) (holding that it
      was error for the district court to consider the actions of multiple police
      officers together)); see also Hernandez v. Tex. Dep't of Protective and
      Regulatory Servs., 380 F.3d 872, 883–84 (5th Cir. 2004) (engaging in
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      an individualized analysis of multiple public officials); Atteberry v.
      Nocona Gen. Hosp., 430 F.3d 245, 253 (5th Cir. 2005) (same); Tarver
      v. City of Edna, 410 F.3d 745, 752–54 (5th Cir. 2005) (same). We agree
      . . . that the district court failed to engage in an individualized analysis,
      and that its collective treatment of the defendant officers’ actions was
      error.

Id. (internal citations omitted). In the present case, the district court erred in failing

to analyze the qualified immunity claims of Mayor Trevino, Chief Siemens, and

Special Detective Wright separately. In most cases, the Court would reverse the trial

court’s ruling and remand, directing the trial court to consider each individual

Appellants’ qualified immunity defense separately. However, since each of the

Appellants are entitled to qualified immunity, in this case, the Court should reverse

and render. See id.

Issue for Review Three: The district court erred in failing to grant Appellants’
Motions to Dismiss.
      Qualified immunity protects government officials “from liability for civil

damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 73 L.Ed.2d 396 (1982).

      Because qualified immunity is an immunity from suit, not merely a
      defense to liability, “it is effectively lost if a case is erroneously
      permitted to go to trial.” Mitchell v. Forsyth, 472 U.S. 511, 526, 105 S.
      Ct. 2806, 86 L.Ed.2d 411 (1985). It is for this reason that a denial of
      qualified immunity is immediately appeal-able and that a defendant's
      entitlement to qualified immunity should be determined at the earliest
      possible stage of the litigation.


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Marie Ramirez v. Guadarrama, 844 F. App'x 710, 713 (5th Cir. 2021). This Court

must determine: “(1) whether a plaintiff alleges or shows the violation of a federal

constitutional or statutory right; and (2) whether the right in question was clearly

established at the time of the alleged violation.” Id. “The relevant, dispositive

inquiry in determining whether a right is clearly established is whether it would be

clear to a reasonable officer that his conduct was unlawful in the situation he

confronted.” Lytle v. Bexar Cnty., Tex., 560 F.3d 404, 410 (5th Cir.2009). “[A]

defendant's acts are held to be objectively reasonable unless all reasonable officials

in the defendant's circumstances would have then known that the defendant's

conduct violated the United States Constitution, or the federal statute as alleged by

the plaintiff.” Thompson v. Upshur County, Texas, 245 F.3d 447, 457 (5th Cir.

2001).

      Although qualified immunity is an affirmative defense, “plaintiff has the

burden to negate the assertion of qualified immunity once properly raised.” Collier

v. Montgomery, 569 F.3d 214, 217 (5th Cir.2009). To meet this burden the plaintiff

must allege facts showing that the defendants committed a constitutional violation

under the current law and that the defendants' actions were objectively unreasonable

in light of the law that was clearly established at the time of the actions complained

of. See Atteberry v. Nocona General Hosp., 430 F.3d 245, 253 (5th Cir.2005).




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Mayor Trevino.

      Appellee alleges that Mayor Trevino and Captain Zuniga caught her with the

missing petitions in her binder. ROA.16, 47, 67-68. Basically, Mayor Trevino

witnessed a crime and made a criminal complaint. ROA.18, 30.2 “When a plaintiff

alleges that a defendant initiated a criminal prosecution to retaliate against the

plaintiff's exercise of his or her First Amendment rights, the plaintiff must establish,

inter alia, that the defendant lacked probable cause to initiate the prosecution.”

Scotch v. Letsinger, 593 F. App'x 276, 280 (5th Cir. 2014)(finding that a sheriff is

entitled to qualified immunity when initiating an investigation into a complaint that

a city council member tampered with a government record.).

      Appellee has not pled facts to show that Mayor Trevino caused Appellee’s

alleged injuries, or that Mayor Trevino even had the power of arrest. In order to

state a 1983 claim against Mayor Trevino, “[Appellee] must establish either that the

defendant supervisory official was personally involved in the acts causing the

deprivation of his constitutional rights or that a causal connection exists between an

act of the official and the alleged constitutional violation.” Douthit v. Jones, 641

F.2d 345, 346 (5th Cir. 1981). Appellee’s conclusory allegations of causation fail

because a Bexar County District Judge found probable cause and issued a warrant


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  Appellee alleges that Mayor Trevino was somehow involved in the assignment of Special
Investigator Wright. ROA.31. However, Appellee fails to plead any facts that support this
conclusory statement.
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for Appellee’s arrest. Mayor Trevino is entitled to qualified immunity under the

independent-intermediary doctrine. See Holcomb v. McCraw, 262 F. Supp. 3d 437,

452 (W.D. Tex. 2017).

      Appellee’s factual allegations about the actions of Mayor Trevino, in

reporting a crime that he witnessed, do not demonstrate a violation of a “clearly

established statutory or constitutional rights of which a reasonable person would

have known.” Harlow, 457 U.S. at 818. Witnessing and reporting a crime cannot be

a violation of Appellee’s constitutional rights.   The trial court erred in failing to

dismiss Appellee’s claims against Mayor Trevino because Appellee has not pled

sufficient facts to defeat Mayor Trevino’s assertion of qualified immunity.

      Nevertheless, the district court found that Mayor Trevino (as one of the

individual Defendants) could somehow be aware of the May 28, 2019 Nieves

decision and how it would affect his actions. ROA.192. However, Mayor Trevino

made his initial report to Captain Zuniga on May 22, 2019. ROA.47. This was a

full six days prior to the Nieves decision. Moreover, Appellee does not plead any

facts to show that Mayor Trevino would or even could anticipate Appellee’s eventual

arrest two months later.

      This Court should reverse and render the district court’s decision and find that

Mayor Trevino enjoys qualified immunity as to Appellee’s allegations and dismiss

Appellee’s claims against Mayor Trevino with prejudice against refiling.


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Chief Siemens.

      Appellee alleges that on May 24, 2019, Chief Siemens told Sgt. Paul Turner

that Mayor Trevino would contact Sgt. Turner “in reference to filing a criminal

complaint.” ROA.18. Chief Siemens later assigned the investigation to Special

Detective Wright. ROA.19, 31.

      Allegations that Chief Siemens informed a subordinate about an anticipated

complaint and made an assignment of a criminal allegation to a detective do not

demonstrate a violation of a “clearly established statutory or constitutional rights of

which a reasonable person would have known.” Harlow, 457 U.S. at 818.

      Appellee has not pled facts to show that Chief Siemens’ actions caused

Appellee’s alleged injuries.     Appellee has not pled that Chief Siemens was

personally involved in the acts causing the deprivation of her constitutional rights or

that a causal connection exists between Chief Siemens’ assignment and the alleged

constitutional violation. See Douthit, 641 F.2d at 346. Moreover, an independent

Bexar County District Judge found probable cause and issued a warrant for

Appellee’s arrest, negating causation. Chief Siemens is entitled to qualified

immunity under the independent-intermediary doctrine. See Holcomb v. McCraw,

262 F. Supp. 3d 437, 452 (W.D. Tex. 2017).

      Nevertheless, the district court found that Chief Siemens (as one of the

individual Defendants) could somehow be aware of the May 28, 2019 Nieves


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decision and how it would affect his actions. ROA.192. Appellee alleges that Chief

Siemens initiated an investigation by speaking with Sgt Turner on May 24, 2019.

ROA.18. This was four (4) days prior to the Nieves decision. Not only was it

impossible for Chief Siemens to know about the upcoming Nieves decision, the

clearly established authority at the time of this decision was that a supervisory officer

was entitled to qualified immunity for initiating a criminal investigation against a

city council member for tampering with a governmental record. See Scotch v.

Letsinger, 593 F. App'x 276, 280 (5th Cir. 2014). Moreover, this Court said:

      When a plaintiff alleges that a defendant initiated a criminal
      prosecution to retaliate against the plaintiff's exercise of his or her First
      Amendment rights, the plaintiff must establish, inter alia, that the
      defendant lacked probable cause to initiate the prosecution.

Id. Appellee’s factually pled Complaint does not establish that probable cause did

not exist, in fact the exhibits show that indeed probable cause, based on witness

statements and video evidence, did exist. Moreover, Appellee does not plead any

facts to show that Chief Siemens would or even could anticipate Appellee’s eventual

arrest. Even if Chief Siemens could have been aware of the upcoming Nieves

decision, it is reasonable that he would think that the decision would be restricted to

the fact situation where officers personally arrested the suspect immediately after

and in retaliation for exercising his First Amendment rights. See Nieves, 139 S. Ct.

at 1721. “In order for a right to be clearly established, ‘[t]he contours of the right

must be sufficiently clear that a reasonable official would understand that what he is
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doing violates that right.’” Guadarrama, 844 F. App'x at 713 (quoting Anderson v.

Creighton, 483 U.S. 635, 640, 107 S. Ct. 3034, 97 L.Ed.2d 523 (1987)). Even a

careful reading of Nieves would not have put a reasonable police chief (like Chief

Siemens) on notice that he should not assign a criminal investigation to a Detective.

      This Court should reverse and render the district court’s decision and find that

Chief Siemens enjoys qualified immunity as to Appellee’s allegations and dismiss

Appellee’s claims against Chief Siemens with prejudice against refiling.

Special Detective Wright.

      Appellee alleges that Special Detective Wright conducted a month-long

investigation. ROA.19. Special Detective Wright interviewed and obtained sworn

statements from Mayor Trevino, Captain Zuniga, and Chalene Martinez. ROA.67-

70. Special Detective Wright reviewed video of the City Council chambers that

confirmed the statements of Mayor Trevino and Captain Zuniga. ROA.69-70. The

video of the incident confirms that Appellee intentionally took the petitions and

placed them in her binder. ROA.69. The video also shows that the missing petitions

were recovered from Appellee’s possession. ROA.69-70. Based on the sworn

statements and supporting video evidence, Special Detective Wright submitted a

Complaint/Affidavit for Warrant of Arrest to an independent Bexar County District

Judge. ROA.66-71.




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      Allegations that Special Detective Wright conducted a thorough criminal

investigation, without more, do not demonstrate a violation of “clearly established

statutory or constitutional rights of which a reasonable person would have known.”

Harlow, 457 U.S. at 818.

      Appellee has not pled facts to show that Special Detective Wright’s actions

caused Plaintiff’s alleged injuries. Moreover, Appellee has not established that

Special Detective Wright “lacked probable cause to initiate the prosecution.” Scotch

v. Letsinger, 593 F. App'x 276, 280 (5th Cir. 2014). A Bexar County District Judge

found probable cause and issued a warrant for Appellee’s arrest. Special Detective

Wright is entitled to qualified immunity under the independent-intermediary

doctrine. See Holcomb v. McCraw, 262 F. Supp. 3d 437, 452 (W.D. Tex. 2017).

The district court erred in failing to dismiss Appellee’s lawsuit against Special

Detective Wright.

      Instead, the district court found, without explanation, that Special Detective

Wright (as one of the individual Defendants) was aware of the May 28, 2019 Nieves

decision and how it would affect his actions. ROA.192. However, if Special

Detective Wright was aware of the recently-decided Nieves decision, it is reasonable

that he would think that the decision would be restricted a situation where officers

personally arrested the suspect immediately after and in retaliation for exercising his

First Amendment rights. See Nieves, 139 S. Ct. at 1721. “In order for a right to be


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clearly established, ‘[t]he contours of the right must be sufficiently clear that a

reasonable official would understand that what he is doing violates that right.’”

Guadarrama, 844 F. App'x at 713 (quoting Anderson v. Creighton, 483 U.S. 635,

640, 107 S. Ct. 3034, 97 L.Ed.2d 523 (1987)). Even a careful reading of Nieves

would not have put a reasonable detective on notice that he should not conduct a

thorough criminal investigation and if he develops probable cause that a crime has

been committed, that he should not present his findings to a magistrate.

       This Court should reverse and render the district court’s decision and find that

Special Detective Wright enjoys qualified immunity as to Appellee’s allegations and

dismiss Appellee’s claims against Special Detective Wright with prejudice against

refiling.

                                  CONCLUSION

       The district court erred in denying Appellants their Motion to Dismiss by: 1)

failing to properly apply the independent intermediary doctrine; 2) failing to

evaluate each of Appellants’ claims of qualified immunity separately; and 3)

failing to properly evaluate the causation and clearly established prongs of

Appellants’ separate qualified immunity claims.

                                                     s/Scott M. Tschirhart
                                      PRAYER

 WHEREFORE, PREMISES CONSIDERED, Appellants Edward Trevino, II, John

     Siemens, and Alexander Wright pray that this Court reverse the district court’s
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denial of their Motion to Dismiss and render judgment dismissing Appellee’s claims

against Appellants with prejudice against refiling, and for such other and further

relief to which Appellants shall show themselves to be entitled.

      Signed on this the 7th day of June 2021.

                                Respectfully submitted,

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                                and Alexander Wright




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                          CERTIFICATE OF SERVICE

       I hereby certified that on this the 7th day of June 2021, I electronically filed
the foregoing document with the Clerk of the Court using CM/ECF system, which
automatically provided notice to the following CM/ECF participants:

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